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     UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK

                                                          x
                                                          :
   KDH Consulting Group LLC, directly and derivatively on :
   behalf of ITERATIVE CAPITAL L.P.,                      :         20-cv-3274 (VM)
                                                          :
                               Plaintiff,                 :
                                                          :         Case Management Order
                    - against –                           :
                                                          :
 ITERATIVE CAPITAL MANAGEMENT                             :
 L.P., ITERATIVE CAPITAL GP, LLC,                         :
 BRANDON BUCHANAN and                                     :
 CHRISTOPHER DANNEN,                                      :
                                                          :
                              Defendants.                 :
                                                          x


This Scheduling Order and Case Management Plan is adopted in accordance with Fed. R. Civ. P.
16-26(f).

1.     This case (is) to be tried to a jury.

2.     Joinder of additional parties to be accomplished by: July 1, 2021.

3.     Amended pleadings may be filed without leave of the Court until: July 1, 2021.

4.     Initial disclosure pursuant to Fed. R. Civ. P. 26(a)(1) to be completed within fourteen (14)
       days of the date of the parties' conference pursuant to Rule 26(D), specifically by not later
       than: July 1, 2021.

5.     All fact discovery is to be completed either:

       a.      Within one hundred twenty (120) days of the date of this Order, specifically by not
               later than September __, 2021.

6.     The parties are to conduct discovery in accordance with the Federal Rules of Civil
       Procedure and the Local Rules of the Southern District of New York. The following
       interim deadlines may be extended by the parties on consent without application to the
       Court, provided the parties are certain that they can still meet the discovery completion
       date ordered by the Court.

       a.      Initial requests for production of documents to be served by: June 21, 2021.
       b.      Initial interrogatories to be served by all parties by: June 21, 2021.
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       c.      Depositions to be completed by: September __, 2021.
               i.     Unless the parties agree or the Court so orders, depositions are not to be
                      held until all parties have responded to initial requests for document
                      production.
               ii.    Depositions of all parties shall proceed during the same time.
               iii.   Unless the parties agree or the Court so orders, non-party depositions shall
                      follow party depositions when possible.

       d.      Any additional contemplated discovery activities and the anticipated
               completion date:
       e.      Requests to Admit to be served no later than: July 30, 2021.

7.     All expert discovery (ordinarily conducted following the completion of fact discovery)
       including parties' expert reports and depositions, witness lists and identification of
       documents pursuant to Fed. R. Civ. P. 26(a)(2), (3) and 35(b), is to be completed by:

       a.      Plaintiff: [2 months from the end of fact discovery]
       b.      Defendant: [3 months from the end of fact discovery]

8.     Contemplated motions:

       a.      Plaintiff: motion for summary judgment after completion of discovery.
       b.      Defendant: motion for summary judgment after completion of discovery.

9.     Following all discovery, all counsel must meet for at least one hour to discuss settlement,
       such conference to be held by not later than:

10.    Do all parties consent to trial by a Magistrate Judge under 28 U.S.C. § 636(c)? No.



TO BE COMPLETED BY THE COURT:

11.    The next Case Management Conference is scheduled for:

        In the event the case is to proceed to trial, a firm trial date and the deadline for submission
of the Joint Pretrial Order and related documents shall be scheduled at the pretrial conference
following either the completion of all discovery or the Court's ruling on any dispositive motion.

        The Joint Pretrial Order should be prepared in accordance with Judge Marrero's Individual
Practices. If this action is to be tried before a jury, proposed voir dire and jury instructions shall
be filed with the Joint Pretrial Order. No motion for summary judgment shall be served after the
deadline fixed for the Joint Pretrial Order.
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SO ORDERED:

DATED:      New York, New York
              ________, 2021
                                                    ________________________
                                                    VICTOR MARERRO,
                                                    U.S.D.J
